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                   UNITED STATES DISTRICT COURT
      FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.3)
                                Eastern Division

Bureau of Consumer Financial Protection
                                            Plaintiff,
v.                                                       Case No.: 1:20−cv−04176
                                                         Honorable Franklin U. Valderrama
Townstone Financial, Inc., et al.
                                            Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, April 4, 2025:


        MINUTE entry before the Honorable Franklin U. Valderrama: The Court sets a
telephonic hearing on the Parties' Joint Motion under Federal Rule of Civil Procedure
60(b) for Relief from and Vacatur of the Stipulated Final Judgement and Order [145] for
2:45 p.m. on 4/8/2025. The call−in number is 1−855−244−8681 and the access code is
2306 072 6527. Persons granted remote access to proceedings are reminded of the general
prohibition against photographing, recording, and rebroadcasting of court proceedings.
Violation of these prohibitions may result in sanctions, including removal of court issued
media credentials, restricted entry to future hearings, denial of entry to future hearings, or
any other sanctions deemed necessary by the Court. Mailed notice. (jcm)




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